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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

JOHN RYAN,                  )
                            )
                            ) Case No. 2:21-cv-12835-DML-KGA
               Plaintiff,   )
                            )
      v.                    ) NOTICE OF VOLUNTARY
                            ) DISMISSAL
ZIX CORPORATION, MARK J.    )
                            )
BONNEY, MARCY CAMPBELL,     )
TAHER A. ELGAMAL, JAMES H. ))
GREENE, JR., ROBERT C.      )
                            )
HAUSMANN, MARIBESS L.       )
MILLER, BRANDON VAN BUREN, )
                            )
and DAVID J. WAGNER,        )
                            )
               Defendants.  )

      PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), plaintiff John Ryan (“Plaintiff”) voluntarily dismisses the claims in

the captioned action (the “Action”) without prejudice. Because this notice of

dismissal is being filed with the Court before service by defendants of either an

answer or a motion for summary judgment, Plaintiff’s dismissal of the Action is

effective upon the filing of this notice.
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Dated: February 4, 2022                   WEISSLAW LLP


                                     By /s/ Richard A. Acocelli
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